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                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7
     TINA BROVOLD,                                    CASE NO. C20-5792 BHS-JRC
 8
                             Plaintiff,               ORDER ADOPTING REPORT
 9           v.                                       AND RECOMMENDATION

10   SAFEWAY, INC.,

11                           Defendant.

12

13           This matter comes before the Court on the Report and Recommendation (“R&R”)

14   of the Honorable J. Richard Creatura, United States Magistrate Judge. Dkt. 16. The Court

15   having considered the R&R and the remaining record, and no objections having been

16   filed, does hereby find and order as follows:

17           (1)   The R&R is ADOPTED; and

18           (2)   Plaintiff’s motion to remand is DENIED.

19           Dated this 9th day of November, 2020.

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                                               A
                                               BENJAMIN H. SETTLE
                                               United States District Judge


     ORDER
